                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )           No. 3:10-00065
                                             )           JUDGE CAMPBELL
QUINCY MAURICE FUQUA                         )


                                          ORDER

       Pending before the Court is Defendant’s Motion For Second Extension Of Time To File

Supplemental Memorandum In Support Of Defendant’s Motion For Judgment Of Acquittal

Notwithstanding The Verdict And, In The Alternative, Motion For New Trial (Docket No. 265).

The Motion is GRANTED. Accordingly, the Defendant shall have until January 16, 2013 in

which to file a supplemental memorandum, and the Government shall have until February 8,

2013 in which to file a response.

       It is so ORDERED.



                                                 _________________________________
                                                 TODD J. CAMPBELL
                                                 UNITED STATES DISTRICT JUDGE




 Case 3:10-cr-00065       Document 270      Filed 01/08/13    Page 1 of 1 PageID #: 1494
